Case 1:10-cr-00317-REB Document 735 Filed 01/17/14 USDC Colorado Page 1 of 6

a

NOTICE OF AND RESCISSION OF REPLY TO GOVERNMENT'S RESPONSE
TO DEFENDANT ARMSTRONG'S EMERGENCY MOTION TO DISMISS FOR
EVIDENCE OF PROSECUTORIAL MISCONDUCT FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A~105
Denver, Colorado 80294~3589

In reply to: "Case 1:10-cr-00317-REB Document 355 Filed 11/09/11 USDC Colorado Page 1 of
3 No. 10-CR-00317-REB REPLY TO GOVERNMENT'S RESPONSE TO DEFENDANT ARMSTRONG'S EMERGENCY
MOTION TO DISMISS FOR EVIDENCE OF PROSECUTORIAL MISCONDUCT, Page 2 of 5, Page 3 of 5
Richard Kellogg Armstrong, Page 4 of 5 November 6,2011 Richard Kellogg Armstrong, Page

5 of 5"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1:10-cr-00317—REB Document

355 Filed 11/09/11 USDC Colorado Page 1 of 5 No. 10-CR-00317-REB REPLY TO GOVERNMENT'S
RESPONSE TO DEFENDANT ARMSTRONG'S EMERGENCY MOTION TO DISMISS FOR EVIDENCE OF PROSECUTORIAL
MISCONDUCT, Page 2 of 5, Page 3 of 5 Richard Kellogg Armstrong, Page 4 of 5 November 6,2011
Richard Kellogg Armstrong, Page 5 of 5" including every copy bearing my signature and date,
for cause. I made a mistake creating, signing, presenting and filing the REPLY TO
GOVERNMENT'S RESPONSE TO DEFENDANT ARMSTRONG'S EMERGENCY MOTION TO DISMISS FOR EVIDENCE

OF PROSECUTORIAL MISCONDUCT. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed,

Luyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." °"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

Sincerely
UNITED STATES DISTRICT COURT
N’ ; 4 4
DENVER, COLORADO a pele Lei, SC Snitdiny
JAN 17 2014 Richard Kellogg Armst ong
c/o 20413-298
JEFFREY P COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

 

AAR I ee

Footnotes: lproverbs 6:1, *Proverbs 6:2, 3Proverbs 6:3, 4Proverbs 6:4, 5Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735 Filed 01/17/14 USDC Colorado Page 2 of 6

Case 1:10-cr-00317-REB Document 355 Filed 11/09/11 USDC Colorado Page 1 of 5

    

ike rT
STS
01
spinor -9 Ai FO
oiGHAM
IN THE UNI STATES DISTRICT COURT ux
FOR THE ICT OF COLORADO EP
DENVER S
UNITED SWQAES OF AMERICA § \

2G

 
 
  
 

 

 

Plai § 5
v C . § No. 10-CR\30317-REB
§
CURTIS L §
RICHARD GGARMSTRONG § § v °
5 . a.
§ \.
REPLY NMENT'S RESPONSE TO DEFENDANT ARMS[RONG'S EMERGENCY MOTION TO Nisfide FOR
EVIDENC SECUTORIAL MISCONDUCT

\

Comes®gpw, Defendant, Richard Kellogg Armstrong, and files } Reply to Government's Response. ,
A. PRORKCUTOR tS ACTING AS WITNESS ~ NC

  
  
 
   
  
 
  
    
 

On ind 2 of the Government's Response the progecutas is acting as a fact witness, which is So,
Therefore, the nse must be stricken, or the prosecutor mustésign and be swom in as a witness. For ex le, the
prosecutdNagys hat “the prosecution team did Suggest...”. That is a factual statement from a witness. The pri has not
been swom in as a witness. The Response from the governmenNnusf b icken or the prosecutor must be irdand cross

-examined, region as US attorney on this case.

B. PR TOR'S STATEMENTS ARE HEARSAY \

The SS utor’s statements are hearsay, and must be stricken. Statements on page 1-2 such as the “ secution
team did s and “though Del Francia has never been offered lantency” constitute hearsay, statements witho rsonal
knowledge. ¥ Osecutor’s rasponse must be stricken. "

Cc. PROSBCUTOR HAS A CONFLICT OF INTEREST

The prosecutor will receive a bonus or raise if the prosecutorsyd g
recuse himse having a conflict of interest in this case. The prosechitr's wife is an IRS agent, and the IRS is hAclient. The
prosecutor is Bctiny in violation of the Code of Professional Responsit Code of

Professional Conduct.

this case. However, the prosecutor hag failed to
for a Prosecutor and in violation of State

D. PR TOR'S STATEMENTS ARE CONCLUSORY

The re tor’s statements constitute begging the question and are circular and conclusory. The prosecutor's
Statements al® self-fulfilling. Thus the response by the prosecutor must be stricken.

E. THE RESPONSE MUST BE STRICKEN BECAUSE THE PROSECUTOR USES INFLAMATORY STATEMENTS,
INTENDED TO SWAY THE COURT

On page 2, the government states “Mortis scheme”. No scheme has been proven, and the government is finding the
Defendant already guilty without a trial. The government states: “Del Francia is a friend of Armstrong’s and a client of his and
Morris’s scheme to file false individual income tax returns Claiming fictitious Form 1099-O1D withholding during 2008-2009,”
Those statements are not only inflammatory, intended to Sway the court, but are hearsay and not yet proven. The
government's response must be stricken.
Case 1:10-cr-00317-REB Document 735 Filed 01/17/14 USDC Colorado Page 3 of 6

Case 1:10-cr-00317-REB Document 355 Filed 11/09/11 USDC Colorado Page 2 of 5

F. THE GOVERNMENT'S DENIAL OF BOND IS INTENDED TO INSURE DEFENDANT CAN NOT DEFEND HIMSELF

  
  
    

The government continues in their diatribe in their response to attempt to inflame the court and portray Defendant as

uivalent of Jack the Ripper. Yet Defendant does not even have a traffic ticket, and has never been convicted of a crime.
: the government is to so inflame the court tha fendant can not obtain pre-trial bond (an Eighth Amendment

y defend himself.

rder to p
Boonen ADMITS THAT THE EVIDENC NR L FRANCIA FORMS THE Bg QF SEVERAL
$s HE SUPERSEDING INDICTMENT \

Gz.
cou
ny
On page 3 of their response the government admits that theNgformation from Del Francia form the}

counts supérseding indictment. That admission makes ale! Francia a significant witness in this @@&e.
prose tempts to dismiss the seriousness of her testimon by stating that the prosecutor's officelMid e
frivolody filiAg penalties until after the superseding indictment.\Page 3. The prosecutor should take a Re Cae he
woul is common knowledge that facts known to the ag re known to the prosecutor. For th A) Osh
game the court requires that prosecutor's motion be Stricken,

H. CID [S NOT INDEPENDENT OF THE CIVIL DIVI
government next claims that the CID is independe
Chi that shields information. Once again the prosecu

the
The
right)

 
 
  

    
   
   

   

utor to play this

  

  

civil division. In other words the emment,has a
ig attempting to mislead the court. Th ciMiddivisions of the
IRS inely refer criminal referrals to the CID as a matter of p government's statements are rfalark@y and the

respons&shouid be stricken.
Case 1:10-cr-00317-REB Document 735 Filed 01/17/14 USDC Colorado Page 4 of 6

Case 1:10-cr-00317-REB Document 355 Filed 11/09/11 USDC Colorado Page 3 of 5

GOVERNMENT MISQUOTES THE LAW

  
   

    

nment then tries to extrapolate the findings o to justify their unlawful acts of Mterepted bribery. It
stands in that if the government attempts to bribe one witn , they will attempt to bribe others. It < Mands in logic that
the gover. t attempts to tum potential witnesses into info in order to control them at trial. It furhe ds in logic that
the prosec S at least two interviews with a potential witne. the first interview the prosecutor thfgws mild threat

secutor will not do anything ag
Script and instructs the witness wha
in the day of Judge Roy Bean.

 
     
  
 

Oés on to state:
ke an offer to a

attorney:
“Our concidjon in no way permits an agent of the govemment
witness otherhan one traditionally exercised by the sovereign.

” ngl
The govern further attempted to mislead the court by failin Webb v. Texas, 409 U.S. 95 (197 2)yyhich supersedes
Singleto ashington v. Texas, 388 U.S. 14, 388 U. “

S. 19 (19 Stated: ‘The right to offer the testimony of withe , and to compel their attendance, if neve ry, is, in plain
enn 8 t to present a defense, the tight to present the nt's version of the facts as well as ne Apes to the
jury so it May decide where the truth lies. Just as an accused the right to confront the prosecution's witnSses }r the
purpose of challenging their testimony, he has the right to present_his own witnesses to establish a defense.fThja right is a

  
 

fundamentfelement of due process of law.’ In the circumstancd is case, we conclude that the judge’ atening
remarks, dite\tag only at the single witness for the defense, ef a0 drove that witness off the stand, and {Mis de ived the
petitioner process of law under the Fourteenth Amendment We shington, pg. 3 of 8. In this case, Fift endment Due
Process wi a indictment void,

     
  
 

   

      
 
 
 

ted by the agent and his actions, tendering th

   
   
  
 

   
 

ent's response. The government wants
completely legal, as long as it is by the miment if the
ing they want to win a case, legal or j
invoke the Due Process rights as expoun

States into a new era: Where the bribery or coercion of testimon
governmengs argument is allowed to Stand, the government can |
should stri government's Response for the reasons cited a
nena

#20413-:
Engle Federal Correctional Institution
9595 West Quincy Avenue

Littleton, CO 80123

CERTIFICATE OF SERVICE

% .
On this the _ 6 7¥ day of AbuserBs7 , @ true and correct copy of the foregoing was served on opposing
counsel by first class mail, postage prepaid.

Richard Kellogg Armsteadg , \
Case 1:10-cr-00317-REB Document 735 Filed 01/17/14 USDC Colorado Page 5 of 6

Case 1:10-cr-00317-REB Document 355 Filed 11/09/11 USDC Colorado Page 4 of 5

November 882011

yy!

Honorable obert E. Blackburn,

U.S. District rt Colorado

901 19th Str

Denver, CO 3589

Subj: Resp Government's Response To Defendant Arriistrong's Emergency Motion To Dismiss F: nce
Prosecutoria induct, Case No. 10-cr-00317-REB-2

    
 
 
 
  

Blaekburn,

Honorable J a oo
response as noted above ‘that you yu had nace me to file in open court October 18, 2071, during the

to file my response that day but, as you =p the status conference was cancelled at 2:10 PM. It was
ar in your Minute Order #319 if my filing was ‘ | or written so please accept this as my belated
you.

Sincerely, <‘

kg Ne hg ge \

\s

 
Case 1:10-cr-00317-REB Document 735 Filed 01/17/14 USDC Colorado Page 6 of 6

—S CIS SSOKH

58 Filed 11/09/11 USDC Colorado Page 5 of 5

 

 

DENVER OO op

   

4 ~ are. ties ql
hy 5 a ”
Zea a PH et ee N

 

GOS 467TH Se

"Y ARW AiO ye By CE.

BISS4SRRi Si WasbsldsensolsHabsasbssdabededsdadlessssslladahssealbeled

 

co RECEIVED

LL UNITED STATES DISTRICT COURT

DENVER, COLORADO i
ea

3 69 or NOV 08 2011 Now h ABLE alo Luc tea CRBS [2 TARO ALD
x ’ GREGORY C. LANGHAWY, <, Sysesees- Gover Cpinvaho

3 CLERK

ot

o

o

O
